                                                                                                                        Entered on Docket
                                                                                                                        November 16, 2005
                                                                                                                        GLORIA L. FRANKLIN, CLERK
                                                                                                                        U.S BANKRUPTCY COURT
                                                                                                                        NORTHERN DISTRICT OF CALIFORNIA


                                                                      1    Christopher Alliotts (CA Bar No. 161302)
                                                                           Marcus A. Tompkins (CA Bar No. 190922)Signed and Filed: November 15, 2005
                                                                      2    SULMEYERKUPETZ
                                                                           A Professional Corporation
                                                                      3
                                                                           1080 Marsh Road, Suite 110
                                                                                                                       ________________________________________
                                                                      4    Menlo Park, California 94025                            THOMAS E. CARLSON
                                                                           Telephone: 650.326.2245                                 U.S. Bankruptcy Judge
                                                                      5    Facsimile: 650.326.5134               ________________________________________
                                                                      6    Attorneys for Official Committee of Unsecured Creditors
                                                                      7
                                                                           Van C. Durrer, II (CA Bar No. 226693)
                                                                      8    Kurt Ramlo (CA Bar No. 166856)
                                                                           Glenn Walter (CA Bar No. 220015)
                                                                      9    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
                                                                           300 South Grand Avenue, Suite 3400
                                                                     10    Los Angeles, California 90071
                                                                           Telephone: 213.687.5000
  Professional Corporation




                                                                     11
                             TEL. 650.326.2245 • FAX 650.326.5134




                                                                           Facsimile: 213.687.5600
                              MENLO PARK, CALIFORNIA 94025
                                1080 MARSH ROAD, SUITE 110




                                                                     12
                                                                           Attorneys for Debtors and Debtors in Possession
                                                                     13
                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                     14
SulmeyerKupetz, A




                                                                                     NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
                                                                     15

                                                                     16    In re                                                Case No. 05-30145 TEC
                                                                                                                                Case No. 05-30146 TEC
                                                                     17
                                                                           FIRST VIRTUAL COMMUNICATIONS,                        Jointly Administered Chapter 11 Cases
                                                                     18    INC.,
                                                                                                                                ORDER SUBSTANTIVELY
                                                                     19
                                                                                                                                CONSOLIDATING ESTATES OF
                                                                     20                    Debtor.                              CHAPTER 11 DEBTORS

                                                                     21

                                                                     22    In re
                                                                                                                                DATE:            November 14, 2005
                                                                     23
                                                                                                                                TIME:            9:30 a.m.
                                                                     24    CUseeMe NETWORKS, INC.                               PLACE:           U.S. Bankruptcy Court
                                                                                                                                                 235 Pine Street,
                                                                     25                                                                          San Francisco, CA 94104
                                                                                           Debtor.                              JUDGE:           Hon. Thomas E. Carlson
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                                                                    Case: [MAT\JPR\497947.1
                                                                           05-30145 Doc#          358
                                                                                            11/14/05       Filed: 11/15/05
                                                                                                     (1:49 PM)]              Entered: 11/16/05 10:22:58     Page 1 of 9
                                                                      1                    A hearing was held on November 14, 2005 at 9:30 a.m. (the “Hearing”) on
                                                                      2    the Motion to Substantively Consolidate Estates of Chapter 11 Debtors (the “Motion”)
                                                                      3    filed by First Virtual Communications, Inc. ("FVC") and CUseeMe Networks, Inc.
                                                                      4    ("CUseeMe," collectively with FVC, the “Debtors”), the debtors in the above-captioned
                                                                      5    Chapter 11 cases, and the Official Committee of Unsecured Creditors appointed in the
                                                                      6    Chapter 11 cases (the “Committee”). Appearances of parties at the Hearing were noted
                                                                      7    on the record. The Court has considered the Motion, as well as the Declaration of
                                                                      8    Gregory Sterling in Support of Motion to Substantively Consolidated Estates of Chapter
                                                                      9    11 Debtors (the “Declaration"), the records on file in these Chapter 11 cases and the
                                                                     10    evidence and argument of counsel presented at the Hearing. Based upon these
  Professional Corporation




                                                                     11    considerations, the Court, in addition to making findings of fact and conclusions of law
                             TEL. 650.326.2245 • FAX 650.326.5134
                              MENLO PARK, CALIFORNIA 94025
                                1080 MARSH ROAD, SUITE 110




                                                                     12    stated orally on the record at the Hearing, finds and concludes that substantively
                                                                     13    consolidating the estates of the Debtors is in the best interests of each estate. Based on
                                                                     14    these findings of fact and conclusions of law, and good cause appearing therefor, IT IS
SulmeyerKupetz, A




                                                                     15    HEREBY ORDERED, AND NOTICE IS HEREBY GIVEN, THAT:
                                                                     16                    1.      All assets of FVC and CUseeMe shall be deemed merged and
                                                                     17    treated as though they were held by a single entity, and all liabilities of FVC and
                                                                     18    CUseeMe shall be treated as though they were owed by a single entity, for all purposes
                                                                     19    related to the First Amended Joint Chapter 11 Plan of Reorganization or any other
                                                                     20    proposed plan of reorganization (each a "Plan"), including, but not limited to, voting,
                                                                     21    confirmation, and distribution. No distributions shall be made under the Plan on account
                                                                     22    of any Intercompany Claim. Any and all obligations of FVC arising from guarantees of
                                                                     23    CUseeMe’s liabilities, and any and all obligations of CUseeMe arising from guarantees of
                                                                     24    FVC’s liabilities, shall be deemed eliminated so that any Claim against one of the Debtors
                                                                     25    and any guarantee thereof executed by the other Debtor and any joint or several liability
                                                                     26    of any of the Debtors shall be deemed to be one obligation of the consolidated Debtors,
                                                                     27    and each and every Claim filed or to be filed in the Chapter 11 Cases shall be deemed
                                                                     28    filed against the consolidated Debtors. Such substantive consolidation shall not (other

                                                                    Case: [MAT\JPR\497947.1
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                                                                      1    than for purposes related to the Plan) affect the legal and corporate structures of the
                                                                      2    Debtors.
                                                                      3                      2.       Effectiveness of Order. Notwithstanding Bankruptcy Rules 3020(e) or
                                                                      4    7062 or any other provision of the Bankruptcy Code and Bankruptcy Rules, this Order
                                                                      5    shall be effective immediately upon its entry.
                                                                      6

                                                                      7    APPROVED AS TO FORM:
                                                                      8    SULMEYERKUPETZ
                                                                           A Professional Corporation
                                                                      9

                                                                     10    By:      /s/ Christopher Alliotts
                                                                                    Christopher Alliotts
  Professional Corporation




                                                                     11             Attorneys for the Official Committee
                             TEL. 650.326.2245 • FAX 650.326.5134




                                                                                           of Unsecured Creditors
                              MENLO PARK, CALIFORNIA 94025
                                1080 MARSH ROAD, SUITE 110




                                                                     12

                                                                     13

                                                                     14    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
                                                                           A Professional Corporation
SulmeyerKupetz, A




                                                                     15

                                                                     16    By:      /s/ Van C. Durrer
                                                                                    Van C. Durrer
                                                                     17             Kurt Ramlo
                                                                                    Melissa T. Kahn
                                                                     18             Attorneys for the First Virtual Communications,
                                                                                           Inc. and CUseeMe Networks, Inc.,
                                                                     19                    Debtors and Debtors in Possession

                                                                     20

                                                                     21    LEVENE, NEAL, BENDER, RANKIN & BRILL LLP
                                                                           A Professional Corporation
                                                                     22

                                                                     23    By:      /s/ Martin J. Brill
                                                                                    Martin J. Brill
                                                                     24             Attorneys for U.S. Dry Cleaning Corp.

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                                                                                                                      *** END OF ORDER ***
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   1                                               COURT SERVICE LIST

   2
       (Special Notice Party)
   3   Argo P artners
       ATTN: Matthew Gold
   4   12 West 37th Street, 9th Floor
       New York, NY 10018
   5
   6   (Special Notice Party)
       Becket and Lee, LLP
   7   ATTN: Gi lb ert B. Weis man
       (Counsel to American Express Travel Related Svcs Co Inc Corp Card)
   8   P .O. Box 3001
       16 General Warren Blvd.
   9   Malvern, PA 19355-0701

  10
       (Special Notice Party)
  11   Bingham McCutchen LLP
       ATTN: Randy Michelson, Esq.
  12   ATTN: David Fallek, Esq.
       ATTN: Alison Wauk, Esq.
  13   (Counsel to DIP Lender)
       Three Embarcadero Center, Suite 1800
  14   San Francisco, CA 94111

  15
       (Special Notice Party)
  16   Carter Ledyard & Milburn LLP
       ATTN: James Gads den
  17   (Counsel to Radvision)
       2 W all Street
  18   New York, NY 10005

  19
       (Special Notice Party)
  20   Contrarian Funds, LLC
       ATTN: Alisa Mumola
  21   411 West Put nam Avenue
       Suite 225
  22   Greenwich, CT 06830

  23
       (Special Notice Party)
  24   Cooley Godward LLP
       ATTN: J. Michael Kelly
  25   101 California Street, 5th Floor
       San Francisco, CA 94111
  26

  27
  28


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   1   (Debto r)
       CUs eeMe Netwo rks , Inc.
   2   3200 Bridge Parkway, Suite 202
       Redwood City, CA 94065
   3
   4   (Debto r)
       Firs t Virt ual Commun icat io ns , Inc.
   5   ATTN: Jon ath an G. Morgan
       303 Twin Dolphin Drive, 6 th Floor
   6   Redwood City, CA 94065

   7
       (Special Notice Party)
   8   Foster Pepper & Shefelman PLLC
       ATTN: Jack Cullen, Esq.
   9   (Co unsel for Vulcan, Inc.)
       1111 Third Avenue, Suite 3400
  10   Seattle, WA 98101-3299

  11
       (Special Notice Party)
  12   Friedman, Kaplan, Seiler & Adelman LLP
       ATTN: David I. Tanenbaum
  13   (Counsel to Gordian)
       1633 Broadway, 46th Floor
  14   New York, NY 10019

  15
       (Special Notice Party)
  16   Fulbright & Jaworski LLP
       ATTN: David L. Barrack, Esq.
  17   ATTN: Henry G. Burnett, Esq.
       (Counsel to AT&T)
  18   666 Fifth Avenue
       New York, NY 10103
  19

  20   (Special Notice Party)
       Go rdi an Grou p, LLC
  21   ATTN: Peter S. Kaufman
       499 Park Avenue
  22   New York, NY 10022

  23
       (Counsel to Sili con Valley Bank - Secured Credito r)
  24   Hopkins & Carley
       ATTN: Stephen J. Kottmeier, Esq.
  25   70 Sou th Firs t St reet
       San Jose, CA 95113-2406
  26

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  28

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   1   (Special Notice Party)
       IKO N Fi nan cial Services
   2   ATTN: Rosa Dominy
       Bankrutpcy Administrtion
   3   17 38 Bass Road
       P .O. Box 13708
   4   Macon, GA 31208-3708

   5
       (Counsel to Huron Consul ti ng Group , LLC - Secured Credi to r)
   6   Latham & Watkins LLP
       ATTN: Carolin e A. Reckler
   7   Sears Tower, Suite 5800
       233 S. Wacker Dr
   8   Chicago, IL 60606

   9
       (Special Notice Party)
  10   LeBoeuf, Lamb, Greene & McRae LLP
       ATTN: Bennett G. Young
  11   (Counsel to France Telecom)
       One Embarcadero Center, Suite 400
  12   San Francisco, CA 94111-3619

  13
       (U.S. Dry Cleaning Corp.)
  14   Levene, Neal, Bender, Rankin & Brill LLP
       ATTN: Martin Brill
  15   1801 Avenue of the Stars, Suite 1120
       Los Angeles, CA 90067
  16

  17   (Special Notice Party)
       Nancy F. Lotus
  18   As si st ant Cou nt y A tt orn ey
       12 00 0 G ov ernment Cent er P arkw ay
  19   Suite 549
       Fairfax, VA 22035
  20

  21   (Special Notice Party)
       McGrane, Greenfield, Hannon, Harrington LLP
  22   ATTN: Bernard S. Greenfield
       (Cou ns el t o W est po rt Joi nt Vent ure)
  23   40 South Market Street, 2nd Floor
       San Jose, CA 95113
  24

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   1   (Special Notice Party)
       McGrane, Greenfield, Hannon & Harrington LLP
   2   ATTN: Maureen A. Harrington
       (Cou ns el t o W est po rt Joi nt Vent ure)
   3   One Ferry Building, Suite 220
       San Francisco, CA 94111
   4

   5   (Secured Credit or)
       Morrison and Foerster LLP
   6   ATTN: Adam A. Lewis
       42 5 Market St reet
   7   San Francisco, CA 94105

   8
       (Special Notice Party)
   9   Murray & Murray
       ATTN: John Walshe Murray, Esq.
  10   (Co unsel to P olycom, Inc.)
       A Professional Corporation
  11   1933 0 Stevens Creek Boul evard
       Cupertino, CA 95014-2526
  12

  13   (Special Notice Party)
       Office of the County Attorney
  14   Fairfax County
       ATTN: David P . Bobzien
  15   12 00 0 G ov ernment Cent er P arkw ay
       Suite 549
  16   Fairfax, VA 22035

  17
       (Special Notice Party)
  18   Office of th e Texas Att orn ey General
       ATTN: Jay Hurst
  19   As si st ant At to rney General
       Bankruptcy & Collections Division
  20   P .O. Box 12548
       Austin, TX 78711-2548
  21

  22   Office of th e US Trustee
       ATTN: P atri cia Cutl er
  23   235 Pi ne Street, Suite 700
       San Francisco, CA 94104
  24

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  26

  27
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   1   (Special Notice Party)
       P achuls ki , Stang, Ziehl, You ng , Jon es & Wein traub P .C.
   2   ATTN: Tobias S. Keller, Esq.
       (Counsel to Gordian)
   3   Three Embarcadero Center, Suite 1020
       San Francisco, CA 90017
   4

   5   (Special Notice Party)
       P rimesh ares
   6   60 Madison Avenue, 2d Floor
       New York, NY 10011-1600
   7

   8   (Special Notice Party)
       Sherman & Sterling LLP
   9   ATTN: Steven E. Sherman, Esq.
       ATTN: Patrick D. Robbins, Esq.
  10   (Counsel to Inter Open Int'l Ltd., Widyati Widjaja, Bing Liao)
       525 Market Street, Suite 1500
  11   San Francisco, CA 94105

  12
       (Debtors' Attorneys)
  13   Skadden, Arps, Slate, Meagher & Flom LLP
       ATTN: Kayalyn A. Marafioti
  14   Four Times Square
       New York, NY 10036-6522
  15

  16   (Debtors' Attorneys)
       Skadden, Arps, Slate, Meagher & Flom LLP
  17   ATTN: Van C. Durrer, II
       300 South Grand Avenue, Suite 3400
  18   Los Angeles, CA 90071

  19
       (Cou ns el t o Credit ors Commit tee)
  20   Sul meyer Kup etz
       A Professional Corporation
  21   ATTN: Chris Alliotts
       1080 Marsh Road, Suite 110
  22   Menlo P ark, CA 94025

  23
       (Special Notice Party)
  24   P eter L. Thottam, Esq.
       UCLA Anderson, MBA Candidate 2006
  25   6230 Wilshire Blvd., #2000
       Los Angeles, CA 90048
  26

  27
  28

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   1   (Special Notice Party)
       U.S. Securities and Exchange Commission
   2   ATTN: Sandra W. Lavigna
       5670 Wilshire Blvd., 11 th Floor
   3   Los Angeles, CA 90036

   4
       (Special Notice Party)
   5   Winston & Strawn LLP
       ATTN: Richard M. Adl er
   6   (Co unsel to RADVISIO N Ltd.)
       101 California Street, Suite 3900
   7   San Francisco, CA 94111-5802

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